Case 8:_17-Cv-02971-VI\/|C-AAS Document 9 Filed l12/26/17 Page 1 of 1 Page|D 44

AO 440 (Rev. 06/| 2) Summons in a Civil Ac\ion

UNITED STATES DISTRICT COURT

for the

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SUMMONS lN A C|VlL ACTION

'l`o: (Defendant s name and address)

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A lawsuit has been filed against you. 2251/26 FL' 3397

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days il` you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: j”“ gwin §#” 7//;;0
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lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

ELlZABETH M. WARREN
cLERK 0F couRT

Date: /#%/Z ,v, j t ` §_Z(j§£¥

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